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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

  FAMILY FIRST LIFE, LLC,

              Plaintiff,

        v.

  DAVID RUTSTEIN, a/k/a DAVID GORDON
  a/k/a BOB GORDON, a/k/a NATE GOLDEN;
  MINDY RUTSTEIN; ERIC SAVAGE;                       Case No. 9:22-cv-80243-AMC
  SAVAGE FINANCIAL GROUP; and the
  NATIONAL ASSOCIATION OF
  ACCREDITED INSURANCE
  PROFESSIONALS

              Defendants.
  _________________________________________/

    PLAINTIFF’S MOTION TO COMPEL DISCOVERY FROM DEFENDANT
    ERIC SAVAGE, AND FOR ATTORNEYS’ FEES, AND MEMORANDUM IN
                        SUPPORT THEREOF

        Pursuant to Federal Rule of Civil Procedure 37(a)(3)(B)(iii)–(iv), Plaintiff

  Family First Life, LLC (“FFL”), by and through counsel, respectfully moves the Court

  to compel Defendant Eric Savage to respond to FFL’s properly served Interrogatories

  and Requests for Production, and for FFL’s Requests for Admission to Eric Savage to

  be deemed admitted based on his failure to respond. FFL also respectfully moves the

  Court pursuant to Federal Rule of Civil Procedure 37(a)(5)(A) to grant FFL its

  reasonable expenses incurred in making this Motion, including attorneys’ fees.

         I.    Background

        Despite being given an extension and FFL’s attempts to confer with Defendant

  Eric Savage, Defendant Eric Savage has failed to respond to FFL’s properly served

  discovery requests and has not cited any proper objection to any of FFL’s requests.
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  On September 5, 2022, FFL Served its First Set of Discovery Requests on Defendant

  Eric Savage, including Interrogatories, Requests for Production, and Requests for

  Admission. See Drew Bell Declaration ¶ 3, Ex. A–C. Pursuant to Federal Rules of

  Civil Procedure 33(b)(2), 34(b)(2)(A), and 36(a)(3), Defendant Savage’s responses to

  FFL’s discovery requests were due on October 5, 2022.

        FFL has made multiple good faith attempts to confer with Defendant Savage

  on his failure to respond to discovery requests. On October 6, 2022, attorney for FFL,

  Drew Bell, contacted attorney for Defendant Savage, Thomas Gruseck, stating “[w]e

  have not received your responses to our written discovery served on September 4,

  2022. Those responses were due on October 4. Could you please advise when we can

  expect to receive them?”1 Bell Decl. ¶ 4, Ex. D. The same day, Attorney Gruseck

  replied, asking if FFL’s attorney would agree to an extension through October 31. Id.

  at ¶ 5, Ex. D. Attorney Bell agreed to extend the deadline to October 31. See id.

  Defendant Savage again failed to file a response to the discovery requests by the

  deadline. Id. at ¶ 6. On November 1, 2022, Attorney Bell wrote to Attorney Gruseck

  again, stating “under our extension, your responses to our written discovery were due

  yesterday. If we do not receive your responses by the end of the week, we’ll have to

  file a motion to compel.” Id. ¶ 7, Ex. E. Attorney Gruseck did not respond to this

  message. Id. at ¶ 9. On November 9, 2022, Attorney Bell emailed Attorney Gruseck

  attaching a draft copy of this Motion to Compel discovery and another copy of the




  1 Attorney Bell initially miscalculated the date in which Defendant Savage’s

  discovery responses were due—such responses were due on October 5, 2022.
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  motion for protective order. See id. at ¶ 8, Ex. F. To date, Defendant Savage has still

  failed to respond to FFL’s request for discovery responses. Id. at ¶ 9.

         II.    Argument

         Pursuant to the Federal Rules of Civil Procedure, a party’s responses to

  properly served discovery requests must be served upon the requesting party within

  thirty (30) days of when the party is served with the discovery request. See Fed. R.

  Civ. P. 33(b)(2), 34(b)(2)(A), 36(a)(3).

         Defendant Savage’s responses to FFL’s discovery requests, including

  Interrogatories, Requests for Production, and Requests for Admission, were due

  thirty days after service of the requests on September 5, 2022. After Defendant

  Savage failed to meet that deadline, FFL agreed to extend the deadline to October 31,

  2022, as a courtesy. The extended deadline has passed, and Defendant Savage has

  once again failed to serve any answers or proper objections to FFL’s discovery

  requests.

         As a general rule, “[w]hen a party fails to timely object to interrogatories,

  production requests, or other discovery efforts, the objections are deemed waived.”

  Romacorp, Inc. v. Prescient, Inc., No. 10-22872-CIV, 2011 WL 2312563, at *2 (S.D.

  Fla. June 8, 2011) (quoting Bailey Indus., Inc. v. CLJP, Inc., 270 F.R.D. 662, 668

  (N.D.Fla.2010)). Here, because Defendant Savage failed to timely respond, any

  objections to FFL’s Discovery Requests have been waived. The Court should order

  Defendant Savage to respond to FFL’s First Set of Interrogatories and Requests for

  Production within ten (10) days of the Court’s Order and enter an order deeming



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  FFL’s Requests for Admissions as admitted pursuant to Federal Rule of Civil

  Procedure 36(a)(3).

        The Court should also order Defendant Eric Savage to pay FFL its reasonable

  expenses incurred in making this Motion, including attorney’s fees. Federal Rule of

  Civil Procedure 37(a)(5)(A) provides that, where a motion for an Order compelling

  disclosure or discovery is granted, “the court must, after giving an opportunity to be

  heard, require the party or deponent whose conduct necessitated the motion, the

  party or attorney advising that conduct, or both to pay the movant’s reasonable

  expenses incurred in making the motion, including attorney’s fees.” Fed. R. Civ. P.

  37(a)(5)(A).

        Although there are certain exceptional circumstances under which a court

  must not order this payment, including where the movant failed to attempt to confer

  in good faith prior to filing the motion, where the opposing party’s failure to respond

  was substantially justified, or where “other circumstances make an award of

  expenses unjust[,]” Fed. R. Civ. P. 37(a)(5)(A)(i)–(iii), none of these circumstances

  apply here. First, Attorney Bell attempted to confer in good faith with Defendant

  Savage’s attorney multiple times prior to filing this Motion and granted him a twenty-

  seven-day extension to file a response. Defendant Savage’s attorney not only failed

  to file a response by the extended deadline, but also subsequently refused to reply to

  messages by Attorney Bell inquiring about the discovery request. Second, Defendant

  Savage’s failure to respond to FFL’s discovery requests is entirely without

  justification. And last, there are no special circumstances which would make an



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  award of expenses unjust where Defendant Savage has chosen to unjustifiably refuse

  to respond to FFL’s discovery requests in their entirety.

         III.   Conclusion

        FFL respectfully submits that this Motion should be GRANTED in its entirety.

  For the foregoing reasons, FFL requests the Court to order Defendant Savage to

  respond to FFL’s First Set of Interrogatories and Requests for Production within ten

  (10) days of the Court’s Order. FFL also requests the Court enter an order deeming

  FFL’s Requests for Admissions as admitted pursuant to Federal Rule of Civil

  Procedure 36(a)(3) and granting FFL reasonable expenses incurred in making this

  Motion, including attorney’s fees, along with such other relief as the Court may deem

  just and proper.

                                          ***

       CERTIFICATE OF REASONABLE EFFORTS TO CONFER WITH ALL
                             PARTIES

        Pursuant to Local Rule 7.1.(a)(3)(A), I hereby certify that counsel for the

  movant has made reasonable efforts to confer with all parties or non-parties who may

  be affect by the relief sought in the motion. Specifically, I sent an emails to Thomas

  Gruseck, Attorney for Defendant Eric Savage, on November 1, 2022 at 6:05 PM and

  November 9, 2022 at 8:13 PM asking to confer on the outstanding discovery. To date,

  I have not received a response from Mr. Gruseck.

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  Date: November 10, 2022                         Respectfully submitted,

                                                   /s/ Drew T. Bell
                                                   Drew T. Bell
                                                   Florida Bar No. 120435
                                                   E-mail: dbell@kslaw.com
                                                   King & Spalding LLP
                                                   Attorney for Plaintiff Family
                                                   First Life, LLC




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                            CERTIFICATE OF SERVICE

        I hereby certify that on November 10, 2022, a true and correct copy of the

  foregoing document was served on the following:

        David Rutstein                        Via the Court’s Electronic System
        Berab St. 15
        Jerusalem 9430811
        Israel
        david.rutstein@gmail.com
        david@naaip.org
        Defendant Pro Se

        Mindy Rutstein                        Via United Parcel Service
        c/o Toddler Town
        Shachar St. 15
        Jerusalem 9626323
        Israel
        Defendant Pro Se

        Thomas J. Gruseck, Esq.               Via the Court’s Electronic System
        THOMAS J. GRUSECK, ESQ.
        500 Australian Ave., Suite 600
        West Palm Beach, FL 33401
        t.gruseck@gmail.com
        Attorney for Defendant Eric Savage


                                              /s/ Drew T. Bell
                                              Drew T. Bell
                                              Florida Bar No. 120435




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